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 5
                              UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF ARIZONA
 7

 8   Robert McCoy, an individual,                     No. 16-02795-PHX-JAT
 9                           Plaintiff,
                                                      ORDER FOR DISMISSAL
10   v.                                               WITH PREJUDICE
11   Petwin Hayden, LLC, an Arizona limited
     liability company,
12
                             Defendant.
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14
             Pursuant to the Stipulation (Doc. 31) of the parties, and good cause appearing
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     therefor,
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             IT IS HEREBY ORDERED dismissing the above-captioned action with
17
     prejudice, each of the parties to bear their own costs and attorneys’ fees.
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19           Dated this 10th day of February, 2017.

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